 Case 5:17-cr-00012-LGW-BWC Document 845 Filed 11/05/19 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 WAYCROSS DIVISION
                                                                                        FILED
                                                                                 Scott L. Poff, Clerk
                                                                              United States District Court

                                                                         By casbell at 10:19 am, Nov 05, 2019
 UNITED STATES OF AMERICA,

       V.                                              CASE NO.:517-cr-12

 CHRISTOPHER WELLS,

              Defendant.



                                        ORDER


      After an independent review of the record, the Court concurs with the Magistrate Judge's

Report and Recommendation, to which no objections have been filed. Accordingly, the Report

and Recommendation ofthe Magistrate Judge is^        l\a^c opinion of the Court.

      SO ORDERED,this           day of N^yember,




                                   LISA SODBEY WOOD
                                   UNITED STATES DISTRICT JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA
